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Patrick J. Neligan, Jr.
State Bar. No. 14866000
Douglas J. Buncher
State Bar No. 03342700
John D. Gaither
State Bar No. 24055516
NELIGAN LLP
325 North St. Paul, Suite 3600
Dallas, Texas 75201
Telephone: 214-840-5333
Facsimile: 214-840-5301
pneligan@neliganlaw.com
dbuncher@neliganlaw.com
jgaither@neliganlaw.com

PROPOSED COUNSEL FOR DEBTORS

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

IN RE:                                            §                CHAPTER 11
                                                  §
NATIONAL RIFLE ASSOCIATION                        §                CASE NO. 21-30085-____
OF AMERICA and SEA GIRT LLC,                      §
                                                  §
          DEBTORS1                                §                Joint Administration Requested


                                        NOTICE OF HEARING
          PLEASE TAKE NOTICE that a hearing on the following pleadings has been scheduled

for Wednesday, January 20, 2021 at 2:00 p.m. Central Time before the Honorable Harlin D.

Hale, at the Earl Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom #3,

Dallas, TX 75242:

          1.     Notice of Designation of Complex Chapter 11 Case [Sea Girt LLC Docket No.3
                 and National Rifle Association of America Docket No. 3];

          2.     Debtors’ Emergency Motion for Entry of an Order Extending the Time to File
                 Schedules and Statements [Docket No. 4];

          3.     Debtors’ Emergency Motion for Authority to Continue Use of Existing Cash
                 Management System, Maintain Existing Bank Accounts, Pay Certain Costs and

1
 The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt). The
Debtors’ mailing address is 11250 Waples Mill Road, Fairfax, Virginia 22030.


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               Fees Associated with Credit Card Transactions, and Continue Use of Existing
               Business Forms [Docket No. 5];

          4.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing Payment of
               Prepetition Employee Wages, Compensation, and Employee Benefits and Granting
               Related Relief [Docket No. 6];

          5.   Debtors’ Emergency Motion for Interim and Final Orders Authorizing the Debtors
               to Pay Certain Prepetition Taxes [Docket No. 7]; and

          PLEASE TAKE FURTHER NOTICE that the hearing will be conducted by

videoconference and teleconference via Webex. The Webex hearing link will be posted to Judge

Hale’s Hearing Dates and Calendar web page prior to the hearing and may be accessed from the

following link:     https://www.txnb.uscourts.gov/judges-info/hearing-dates/judge-hales-hearing-

dates. Parties attending the hearing are requested to include their names on the Court’s electronic

sign-in sheet located on Judge Hale’s web page under “Electronic Appearances” located at the link

given above. Parties should also review, prior to the hearing, the Webex information attached

hereto.

Dated: January 19, 2021.

                                             Respectfully submitted,

                                             /s/ Patrick J. Neligan, Jr.
                                             Patrick J. Neligan, Jr.
                                             State Bar. No. 14866000
                                             Douglas J. Buncher
                                             State Bar No. 03342700
                                             John D. Gaither
                                             State Bar No. 24055516
                                             NELIGAN, LLP
                                             325 North St. Paul, Suite 3600
                                             Dallas, Texas 75201
                                             Telephone: 214-840-5333
                                             Facsimile: 214-840-5301
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                                             dbuncher@neliganlaw.com
                                             jgaither@neliganlaw.com

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